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                                       MINUTES



  CASE NUMBER:             CIVIL NO. 17-00079LEK-RLP
  CASE NAME:               ME2 Productions, Inc. Vs. Does 1 through 19, et al.
  ATTYS FOR PLA:
  ATTYS FOR DEFT:
  INTERPRETER:


        JUDGE:      Leslie E. Kobayashi            REPORTER:

        DATE:       08/03/2017                     TIME:


 COURT ACTION: EO: COURT ORDER REJECTING PROPOSED STIPULATED
 CONSENT JUDGMENT BETWEEN PLAINTIFF ME2 PRODUCTIONS, INC. AND
 DEFENDANT DOE 2 AND STRIKING DOCKET NUMBER 20

        On July 31, 2017, Plaintiff ME2 Productions, Inc. (“Plaintiff”) submitted a
 “Stipulated Consent Judgment Between Plaintiff ME2 Productions, Inc. and Defendant
 Doe 2” to this Court for approval (“Proposed Consent Judgment”). This Court REJECTS
 the Proposed Consent Judgment because Plaintiff has not identified Defendant Doe 2.

        Fed. R. Civ. P. 10(a) requires that “[t]he title of the complaint must name all the
 parties.” (Emphasis added.) In a case alleging claims pursuant to 42 U.S.C. §§ 1981,
 1983, and 1985(3), this district court explained:

               because an anonymous defendant cannot be served, the use of Doe
               defendants is disfavored in federal court. See Gillespie v. Civiletti,
               629 F.2d 637, 642 (9th Cir. 1980). While a plaintiff may refer to
               unknown defendants as Defendant John Doe 1, John Doe 2, John
               Doe 3, and so on, he must allege facts to support how each
               individual Doe defendant violated the plaintiff’s constitutional rights.
               If a plaintiff provides such details, he may then use the discovery
               processes to obtain the names of any Doe defendants he believes
               violated his constitutional rights and seek leave to amend to name
               those defendants, unless discovery will not uncover the identities,
               or the complaint would be dismissed on other grounds. Wakefield v.
               Thompson, 1[7]7 F.3d 1160, 1163 (9th Cir. 1999) (citing Gillespie,
               629 F.2d at 642).
Case 1:17-cv-00079-LEK-RLP Document 23 Filed 08/03/17 Page 2 of 2                  PageID #: 79
 Annan-Yartey v. Muranaka, CIV. NO. 16-00590 JMS-KJM, 2016 WL 7105864, at *5 (D.
 Hawai`i Dec. 5, 2016) (emphasis added).

         Plaintiff’s Complaint identifies each Doe defendant according to the Internet
 Protocol address used for each Doe defendant’s act of copyright infringement. See
 Complaint, filed 2/21/17 (dkt. no. 1), at ¶ 7 & Exh. 1. “Doe 2” is currently represented by
 counsel, who signed the Proposed Consent Judgment. Although Plaintiff has clearly
 identified who “Doe 2” is, Plaintiff has not amended his Complaint to identify Doe 2 by
 name. This Court therefore cannot approve the Proposed Consent Judgment.

       The rejection of the Proposed Consent Judgment is without prejudice to the
 submission of a new proposed consent judgment after Plaintiff amends his Complaint,
 pursuant to Fed. R. Civ. P. 15(a), to identify the defendant named in the proposed consent
 judgment.

        In addition to submitting the Proposed Consent Judgment to this Court via email,
 Plaintiff also filed the Proposed Consent Judgment. [Dkt. no. 20.] That filing was
 improper because this Court had not reviewed and approved the document prior to filing.
 This Court therefore STRIKES docket number 20.

        The proper procedure to obtain this Court’s approval of a stipulated consent
 judgment is to submit the parties’ stipulation directly to this Court either electronically to
 kobayashi_orders@hid.uscourts.gov or by lodging the document with the Clerk’s Office.
 The parties’ stipulated consent judgment should not be filed before it has been approved
 by this Court. If this Court approves and signs the stipulated consent judgment, the
 document will then be filed with the Clerk’s Office.

        IT IS SO ORDERED.

 Submitted by: Warren N. Nakamura, Courtroom Manager
